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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 JANE DOE 2, et al.,


 Plaintiffs,


 v.                                                 Civil Action No. 17-cv-1597 (CKK)


 LLOYD J. AUSTIN, III, in his official capacity
 as Secretary of Defense, et al.,


 Defendants.




                    JOINT STATUS REPORT AND REQUEST FOR STAY

         On January 25, 2021, President Biden issued an executive order (the “January 25, 2021

Executive Order”) “revok[ing]” “the Presidential Memorandum of March 23, 2018,” challenged in

this case. E.O. No. 14004 §§ 1, 2 (Jan. 25, 2021), ECF No. 251-1. The January 25, 2021 Executive

Order provides that “[t]he Secretary of Defense, and Secretary of Homeland Security with respect to

the Coast Guard, shall, after consultation with the Joint Chiefs of Staff about how best to implement

this policy and consistent with applicable law, take all necessary steps to ensure that all directives,

orders, regulations, and policies of their respective departments are consistent with this order”

including by “establishing a process by which transgender service members may transition gender

while serving, along with any further steps that the Secretary of Defense and Secretary of Homeland

Security deem appropriate to advance the policy described in section 1 of this order.” Id. § 3(a). And

the January 25, 2021 Executive Order further provides that “[t]he Secretary of Defense and the

Secretary of Homeland Security shall report to [the President] within 60 days of the date of this order
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on their progress in implementing the directives in this order and the policy described in section 1 of

this order.” Id. § 3(d).

        On January 25, 2021, Defendants filed a Notice of Executive Order, attaching the January 25,

2021 Executive Order as Exhibit 1. ECF No. 251. In the resulting January 26, 2021 Minute Order,

this Court ordered the parties to “indicate in their Joint Status Report due February 4, 2021 the effect

of the Executive Order on the proceedings of this case, including whether a stay is appropriate.” See

Min. Order (Jan. 26, 2021 at 9:25 A.M.) (internal citation omitted).

        Accordingly, to allow Defendants time to implement the January 25, 2021 Executive Order

and for the parties to determine thereafter what proceedings will be necessary in this case after the

60-day period set forth in the January 25, 2021 Executive Order has passed, the parties respectfully

request that this case be stayed until April 9, 2021, 14 days after the 60-day period referenced in the

January 25, 2021 Executive Order. The parties further request that they be Ordered to file a Joint

Status Report by April 9, 2021, setting forth their respective positions regarding what proceedings

will be necessary thereafter in this case.



February 2, 2021                                        Respectfully Submitted,

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 LLOYD J. AUSTIN, III, in his official capacity
 as Secretary of Defense, et al.,


 Defendants.




                                              [PROPOSED] ORDER

       This matter comes before the Court on the Parties’ Joint Status Report and Request for a Stay.

After considering the Parties’ Joint Status Report, IT IS HEREBY ORDERED THAT:

               1. This case is stayed until April 9, 2021; and

               2. The parties shall file a Joint Status Report by April 9, 2021 setting forth their

                   respective positions regarding what further proceedings will be necessary in this case.

IT IS SO ORDERED.



       Dated this ________ day of February, 2021.




                                                            Colleen Kollar-Kotelly
                                                            United States District Judge




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